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UN|TED STATES DlSTR|CT COURT

wEsTERN DisTRicT oF TENNEssEE F"‘E° BY ~.. b.q
MEMPHis DlvlsloN -
USJUL ll PH |¢: 107
uNlTED sTATEs oF AMEnch l
_v_ 04-20391-02-Ma W 0§?§§3[11€7 OULHT

GEORGE L. ROB|NSON
Bruce |. Griftey, CJA
Defense Attorney
142 N. 3"1 Street, 3rd F|oor
Memphis,Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 5 and 7 of the indictment on March 24, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section MW Ottense M(§)
Concluded
18 U.S.C. § 1028(a)(7) Un|awfu| use of identity of another 06/12/2003 5
person to commit a felony
18 U.S.C. § 1029(a)(2) Fraudulent use of access device over 04/27/2004 7

$1,000.00

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Ftetorm Act of 1984 and the Nlandatory
Victirns Fiestitution Act of 1996.

Counts 8 and 9 are dismissed on the motion of the United States.
|T lS FURTHEFt ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/04/1986 Ju|y 01, 2005
Deft’s U.S. Marshai No.: 19887-076

Defendant’s Residence Address:

4224 Oxford Square Drive j VM-`

N|emphis, TN 38116

 

SAN|UEL H. MAYS, JFi.
UN|TED STATES D|STF\ICT JUDGE

l l
Thls document entered on the docket s_hjet fn mplian
with mile 55 and/or szrbi mch an _{§_Q.§' `

Juiy , 2005

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Defendant Name: George L. Flobinson Page 2 of 6

lN|PFl|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of six (6) months on Counts 5 and 7, each to run
concurrentlyl

The defendant is remanded to the custody of the United States N|arshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Vlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions cf
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, pcssess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administeredl

B. The defendant shall not associate with any persons engaged in criminat activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer,l

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: George L. Flobinson Page 4 of 6

fO‘ The defendant shall notify the probation officer within 72 hours of being arrested cr questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

131 lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Nionetary Penalties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall aiso comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Furtherr
the defendant shall be required to contribute to the costs cf services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment however, the defendant
shall not be employed at a bank or financial institution, or any place where defendant can
have access to other people's credit cards or credit information

3. The defendant shall obtain his General Educational Development (G.E.D.) Diploma.
4. The defendant shall provide third-party risk notification as directed by the Probation Office.
5. The defendant shall pay restitution in regular monthly installments of not less than 10% of

his gross monthly income.

6. The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant’s ability to pay restitution

7. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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CR|M|NAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments The interest
requirement is waived. All of the payment options in the Schedule of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Ftestitution
$200.00 $71,303.26

The Special Assessment shall be due immediately

FINE
No fine imposed

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RESTITUT|ON

Ftestitution in the amount of $71,303.26 is hereby ordered The defendant shall
make restitution to the following victims in the amounts listed below.

Priority Order
Tota| Amount Amount of or Percentogo
Name of Payee of Loss Restitution Ordered of Payment
Discover Financia| Services, |nc. $21,437.16 $21 ,437.16
Fte: William Phi||ips and Clendon Savage
Accounts
Peabody Hotel $13,437.36 $13,437.36
William Phi||ips $25,640.04 $25,640.04
chsehold Credit Card Services $8,679.46 $8,679.46
Bank of America $2,109.24 $2,109.24

lf the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3684(1)(3)(3), the court orders nominal payments and this is
reflected in the Statement of Fteasons page.

: .|| H||!EE P ¥ F¥ P |BJH
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:04-CR-20391 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

